Branch :S03,User :MMEN                 Comment:                                     Station Id :K5Q8
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                                                                        Exhibit G - 1
Branch :S03,User :MMEN                 Comment:                                     Station Id :K5Q8
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                                         #:2509




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                                                                        Exhibit G - 2
Branch :S03,User :MMEN                 Comment:                                     Station Id :K5Q8
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                                         #:2510




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Document: TD 2020.148098
                                                                        Exhibit G - 3
Branch :S03,User :MMEN                 Comment:                                     Station Id :K5Q8
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                                         #:2511




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Document: TD 2020.148098
                                                                        Exhibit G - 4
Branch :S03,User :MMEN                 Comment:                                     Station Id :K5Q8
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                                         #:2512




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Document: TD 2020.148098
                                                                        Exhibit G - 5
Branch :S03,User :MMEN                 Comment:                                     Station Id :K5Q8
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                                         #:2513




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                                                                        Exhibit G - 6
Branch :S03,User :MMEN                 Comment:                                     Station Id :K5Q8
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                                         #:2514




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                                                                        Exhibit G - 7
Branch :S03,User :MMEN                 Comment:                                     Station Id :K5Q8
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                                         #:2515




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                                                                        Exhibit G - 8
Branch :S03,User :MMEN                 Comment:                                     Station Id :K5Q8
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                                         #:2516




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                                                                        Exhibit G - 9
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
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                                         #:2517




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                                                                       Exhibit G - 10
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
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                                         #:2518




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                                                                       Exhibit G - 11
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
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                                         #:2519




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                                                                       Exhibit G - 12
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
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                                         #:2520




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                                                                       Exhibit G - 13
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
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                                         #:2521




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                                                                       Exhibit G - 14
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
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                                         #:2522




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                                                                       Exhibit G - 15
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
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                                         #:2523




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                                                                       Exhibit G - 16
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
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                                         #:2524




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                                                                       Exhibit G - 17
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
      Case 5:21-cv-00616-JWH-SP Document 183-17 Filed 09/07/22 Page 18 of 21 Page ID
                                         #:2525




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                                                                       Exhibit G - 18
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
      Case 5:21-cv-00616-JWH-SP Document 183-17 Filed 09/07/22 Page 19 of 21 Page ID
                                         #:2526




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Document: TD 2020.148098
                                                                       Exhibit G - 19
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
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                                         #:2527




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                                                                       Exhibit G - 20
Branch :S03,User :MMEN                Comment:                                      Station Id :K5Q8
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